                                Case 19-12154             Doc 9      Filed 02/24/19            Page 1 of 3
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 19-12154-LSS
Keisha Matos Joaquin-Blofsky                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-0                  User: mrybczyns                    Page 1 of 1                          Date Rcvd: Feb 22, 2019
                                      Form ID: 309A                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 24, 2019.
db             +Keisha Matos Joaquin-Blofsky,    48274 Choptank Pl,   Lexington Park, MD 20653-4578
tr             +Gary A. Rosen,   One Church Street,    Suite 800,   Rockville, MD 20850-4164
30944979       +Citibank Best Buy,   Citibank Corp/Centralized Bankruptcy,     PO Box 790034,
                 St Louis, MO 63179-0034
30946640       +Comptroller of the Treasury,    Compliance Division, Room 409,    301 W. Preston Street,
                 Baltimore, MD 21201-2305
30944980       +Daimler Chrysler Services North,    4600 Touchton Rd, Ste Ste 400,    Jacksonville, FL 32246-1536
30944981       +Equity Management, Inc,    4400 Rena Rd,   Forrestville, MD 20746-3602
30944984       +Peroutka Law Group,    8028 Ritchie Hwy, Ste 300,   Pasadena, MD 21122-1360
30944986       +Protak Spivok and Collins,    4330 East West Highway, Ste 900,    Bethesda, MD 20814-4454
30944988       +Stuart Blatt, Esquire,    110 West Road, Ste 222,   Towson, MD 21204-2341

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: sonila@isaklaw.com Feb 22 2019 20:17:57       Sonila Isak Wintz,    The Isak Law Firm,
                 808 Baltimore Pike, Suite A,    Bel Air, MD 21014
30944976        EDI: BANKAMER2.COM Feb 23 2019 01:13:00      Bank of America,    PO Box 15168,
                 Wilmington, DE 19850
30944977       +EDI: CAPITALONE.COM Feb 23 2019 01:13:00      Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
30944978       +EDI: CAPITALONE.COM Feb 23 2019 01:13:00      Capital One/Dress Barn,    Attn: Bankruptcy,
                 PO Box 30285,   Salt Lake City, UT 84130-0285
30944982       +EDI: MERRICKBANK.COM Feb 23 2019 01:13:00      Merrick Bank/CardWorks,    Attn: Bankruptcy,
                 PO Box 9201,   Old Bethpage, NY 11804-9001
30944983       +EDI: NFCU.COM Feb 23 2019 01:13:00      Navy FCU,   Attn: Bankruptcy,    PO Box 3000,
                 Merrifield, VA 22119-3000
30944985       +EDI: PRA.COM Feb 23 2019 01:13:00      Portfolio Recovery,    PO Box 41021,
                 Norfolk, VA 23541-1021
30944987       +EDI: SWCR.COM Feb 23 2019 01:13:00      Southwest Credit Systems,    4120 International Parkway,
                 Suite 1100,   Carrollton, TX 75007-1958
30946639       +E-mail/Text: UIBankruptcyNotices.DLLR@maryland.gov Feb 22 2019 20:20:05
                 State of Maryland DLLR,    Division of Unemployment Insurance,    1100 N. Eutaw Street, Room 401,
                 Baltimore, MD 21201-2225
30946638       +E-mail/Text: jeanette.davis@stmarysmd.com Feb 22 2019 20:18:32       Taxing Authority of,
                 St. Mary’s County, MD,    Governmental Center - POB 653,    Leonardtown, MD 20650-0653
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 24, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 22, 2019 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
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Information to identify the case:
Debtor 1              Keisha Matos Joaquin−Blofsky                                        Social Security number or ITIN   xxx−xx−1225
                      First Name    Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
                      First Name    Middle Name     Last Name
(Spouse, if filing)
                                                                                          EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             District of Maryland
                                                                                          Date case filed for chapter 7 2/21/19
Case number:          19−12154 LSS           Chapter: 7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                          12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov and click on Filing Without An Attorney for additional resources and
information.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                        Keisha Matos Joaquin−Blofsky

2.      All other names used in the
        last 8 years

3.     Address                                    48274 Choptank Pl
                                                  Lexington Park, MD 20653

4.     Debtor's attorney                          Sonila Isak Wintz                                   Contact phone 443−854−6666
       Name and address                           The Isak Law Firm                                   Email: sonila@isaklaw.com
                                                  808 Baltimore Pike, Suite A
                                                  Bel Air, MD 21014

5.     Bankruptcy trustee                         Gary A. Rosen                                       Contact phone (301) 251−0202
       Name and address                           One Church Street                                   Email:
                                                  Suite 800
                                                  Rockville, MD 20850
                                                                                                       For more information, see page 2 >
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Debtor Keisha Matos Joaquin−Blofsky                                                                                           Case number 19−12154
6. Bankruptcy clerk's office              Greenbelt Division                                                       Hours open:
                                          6500 Cherrywood Lane, Ste. 300                                           8:45 − 4:00 PM
   Documents in this case may be          Greenbelt, MD 20770
   filed at this address. You may                                                                                  Contact phone (301) 344−8018
   inspect all records filed in this case Clerk of the Bankruptcy Court:
   at this office or online at            Mark A. Neal                                                             Date: 2/22/19
   www.pacer.gov.

7. Meeting of creditors                                                                                            Location:
                                         March 26, 2019 at 09:30 AM                                                6305 Ivy Lane, Sixth Floor, Greenbelt,
    Debtors must attend the meeting to
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later date.                MD 20770
    case, both spouses must attend.      If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 5/28/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                 Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as exempt.       conclusion of the meeting of creditors
                                                 If you believe that the law does not authorize an exemption
                                                 claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                 that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


13. Debtor electronic bankruptcy                 The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive court notices
    noticing                                     and orders via email, instead of U.S. mail. To participate, debtors must complete and file a DeBN request
                                                 form with the Court −− additional information is available under Programs & Services at
                                                 http://www.mdb.uscourts.gov. Other parties (non−debtors) can register at ebn.uscourts.gov.


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